Case 2:24-cv-09621-DMG-JPR           FEE PAID 1
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 UNITED STATES DISTRICT COURT WESTERN DISTRICT OF CALIFORNIA
 JOHN DIAZ,
 Plaintiff,
 v.
 NATIONAL ASSOCIATION OF REALTORS (NAR),
 CALIFORNIA ASSOCIATION OF REALTORS (CAR),                                Civil Action No.
 LODIA ASSOCIATION OF REALTORS (LAR),
                                                                               2:24-cv-9621-DMG(JPRx)
 METROLIST,
 Defendants.

 _______________________________________________/
 RE :COMPLAINT FOR VIOLATIONS OF THE SHERMAN ANTITRUST ACT,
 CLAYTON ACT, BREACH OF CONTRACT, AND UNJUST ENRICHMENT
 INTRODUCTION
      1. This is a civil action seeking damages and injunctive relief for Defendants’ violations of
         federal antitrust laws, specifically the Sherman Antitrust Act, 15 U.S.C. §§ 1-2, and the
         Clayton Act, 15 U.S.C. § 14, as well as for breach of contract and unjust enrichment.
         Plaintiff John Diaz, a licensed real estate broker in Modesto, California, alleges that
         Defendants National Association of Realtors (NAR), California Association of Realtors
         (CAR), Lodi Association of Realtors (LAR), and MetroList have engaged in
         monopolistic practices that unlawfully restrict competition in the real estate market by
         requiring brokers to join multiple associations as a precondition for accessing MLS
         services, imposing a financial burden without proportional benefit.
 PARTIES
      2. Plaintiff: John Diaz is a licensed real estate broker operating in Modesto, California, with
         his primary business address at 3001 Tagura Drive, Modesto, CA 95355.
      3. Defendant NAR: The National Association of Realtors is a national trade association for
         real estate professionals with its principal office located at 500 New Jersey Ave NW,
         Washington, DC 20001.
      4. Defendant CAR: The California Association of Realtors is a state-level trade association
         with its principal office located at 601 South Figueroa Street, Suite 2700, Los Angeles,
         CA 90017.
      5. Defendant LAR: The Lodi Association of Realtors is a local association and MLS
         provider in Lodi, California, with its principal office at 777 S. Ham Lane, Suite B, Lodi,
         CA 95242.
      6. Defendant MetroList: MetroList is a multiple listing service (MLS) provider with
         offices at 4050 Truxel Rd, Suite A, Sacramento, CA 95834.
Case 2:24-cv-09621-DMG-JPR           Document 1        Filed 11/01/24      Page 2 of 4 Page ID #:2




 JURISDICTION AND VENUE
    7. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, as the claims
       arise under federal law, including the Sherman Antitrust Act (15 U.S.C. §§ 1-2) and the
       Clayton Act (15 U.S.C. § 14). The Court has supplemental jurisdiction over state law
       claims of breach of contract and unjust enrichment pursuant to 28 U.S.C. § 1367.
    8. Venue is proper under 28 U.S.C. § 1391(b) because a substantial part of the events or
       omissions giving rise to this complaint occurred in this district, and the Defendants
       conduct business within this district.
 STATEMENT OF FACTS
    9. Defendants have established an exclusionary practice, requiring brokers to join multiple
       associations (NAR, CAR, and LAR) to gain access to MLS services provided by
       MetroList, which are essential for conducting real estate transactions.
    10. This mandatory membership requirement constitutes an unlawful tying arrangement, as
        defined in Jefferson Parish Hosp. Dist. No. 2 v. Hyde, 466 U.S. 2 (1984). Brokers must
        "purchase" association memberships they may not need or want to obtain MLS services.
    11. This structure has created an anti-competitive monopoly over MLS services, limiting the
        market’s ability to support alternative trade organizations, thereby stifling competition in
        violation of the Sherman Act, 15 U.S.C. §§ 1-2.
    12. Plaintiff and similarly situated brokers are subject to excessive and unjustified fees due to
        the forced memberships, as these associations fail to provide proportional value in return
        for these dues.
    13. Plaintiff has experienced a significant financial burden resulting from these forced
        membership dues and MLS fees, which have diminished his revenue and impeded his
        business.
    14. Defendants’ actions, by monopolizing access to essential MLS data, have harmed
        independent brokers and small, minority-owned businesses disproportionately, further
        limiting market competition.
 COUNTS
 COUNT I: Violation of the Sherman Antitrust Act, 15 U.S.C. §§ 1-2
    15. Plaintiff incorporates by reference all preceding paragraphs as if fully set forth herein.
    16. Defendants’ actions constitute an unreasonable restraint of trade under Section 1 of the
        Sherman Antitrust Act, 15 U.S.C. § 1, by imposing forced membership requirements on
        brokers as a condition of accessing MLS services.
    17. Defendants’ conduct demonstrates monopolistic behavior in violation of Section 2 of the
        Sherman Act, 15 U.S.C. § 2, by using their market power to eliminate competition and
        maintain exclusive control over MLS access.
Case 2:24-cv-09621-DMG-JPR           Document 1        Filed 11/01/24      Page 3 of 4 Page ID #:3




 COUNT II: Violation of the Clayton Act, 15 U.S.C. § 14
    18. Plaintiff incorporates by reference all preceding paragraphs as if fully set forth herein.
    19. The forced membership structure constitutes an unlawful tying arrangement in violation
        of Section 3 of the Clayton Act, 15 U.S.C. § 14, which prohibits arrangements that may
        substantially lessen competition or create monopolistic dominance in a market.
 COUNT III: Breach of Contract
    20. Plaintiff incorporates by reference all preceding paragraphs as if fully set forth herein.
    21. By imposing mandatory memberships, Defendants breached implied contractual
        obligations to provide equitable value and service proportional to the fees paid by
        Plaintiff and similarly situated brokers.
    22. Defendants have violated the implied covenant of good faith and fair dealing by imposing
        excessive fees and forced memberships that serve no legitimate business purpose for
        Plaintiff.
 COUNT IV: Unjust Enrichment
    23. Plaintiff incorporates by reference all preceding paragraphs as if fully set forth herein.
    24. Defendants have been unjustly enriched by extracting membership fees and MLS charges
        from Plaintiff without providing commensurate benefits, in violation of equitable
        principles of fairness and good conscience.
 PRAYER FOR RELIEF
 WHEREFORE, Plaintiff John Diaz respectfully requests that this Court grant the following
 relief:
 a. A declaratory judgment that Defendants’ forced membership policies and monopolistic
 practices violate the Sherman Antitrust Act, 15 U.S.C. §§ 1-2, and the Clayton Act, 15 U.S.C. §
 14
 b. A permanent injunction prohibiting Defendants from continuing their forced membership and
 tying arrangements
 c. An order requiring Defendants to establish alternative MLS systems that are not contingent
 upon membership in NAR, CAR, or LAR, and MetroList
 d. An order mandating the establishment of a transparent and impartial dispute resolution system
 to address complaints brought by members without bias or undue financial burden
 e. Compensatory damages in an amount to be determined at trial, but no less than $3,600,000, to
 compensate Plaintiff for the harm caused by Defendants’ unlawful conduct
 f. Punitive damages sufficient to punish Defendants for their egregious conduct and to deter
 similar future misconduct
 g. Restitution for all unjust enrichment, including the refund of excessive fees collected from
 Plaintiff
 h. Pre- and post-judgment interest at the maximum legal rate on all damages awarded
Case 2:24-cv-09621-DMG-JPR           Document 1       Filed 11/01/24     Page 4 of 4 Page ID #:4




 i. An award of reasonable attorney’s fees, costs, and expenses incurred in this action, as deemed
 just and proper by the Court
 j. Any such further relief as this Court deems just and equitable
 JURY TRIAL DEMAND
 Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby demands a trial by
 jury on all issues so triable.
 DATED: October 31, 2024
